                                                                                                                                                 5/30/23 3:04PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF LOUISIANA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                AIR HANDLERS HVAC SPECIALISTS LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1103 Texas Street
                                  Sulphur, LA 70663
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Calcasieu                                                       Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  City Storage
                                                                                                  3737 Old Hwy 27 South Sulphur, LA 70665
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor    AIR HANDLERS HVAC SPECIALISTS LLC                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    AIR HANDLERS HVAC SPECIALISTS LLC                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor   AIR HANDLERS HVAC SPECIALISTS LLC                                            Case number (if known)
         Name

                                $50,001 - $100,000                        $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    AIR HANDLERS HVAC SPECIALISTS LLC                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 30, 2023
                                                  MM / DD / YYYY


                             X   /s/ Kaleb Santos                                                         Kaleb Santos
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager/Member




18. Signature of attorney    X   /s/ Ronald J. Bertrand                                                    Date May 30, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ronald J. Bertrand
                                 Printed name

                                 Ronald J. Bertrand
                                 Firm name

                                 714 Kirby Street
                                 Lake Charles, LA 70601
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     337-436-2541                  Email address      rjblawoffice@aol.com

                                 ~ 3059 LA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         AIR HANDLERS HVAC SPECIALISTS LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF LOUISIANA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 30, 2023                    X /s/ Kaleb Santos
                                                           Signature of individual signing on behalf of debtor

                                                            Kaleb Santos
                                                            Printed name

                                                            Manager/Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:

 Debtor name            AIR HANDLERS HVAC SPECIALISTS LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           176,903.50

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           176,903.50


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           102,346.95


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             102,346.95




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name      AIR HANDLERS HVAC SPECIALISTS LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF LOUISIANA

Case number (if known)
                                                                                                                        Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable


          11b. Over 90 days old:                     109,000.00        -                                0.00 =....                 $109,000.00
                                      face amount                           doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                     $109,000.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 1



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Debtor       AIR HANDLERS HVAC SPECIALISTS LLC                                       Case number (If known)
             Name



      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of        Valuation method used    Current value of
                                            physical inventory       debtor's interest        for current value        debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Spiral pipe and fittings,
          sheet metal, 10x10
          ceiling boxes, ducwrap,
          rigid duct, S locks and
          drives, duct putty, lay-in
          grilles, return filter grille,
          collars, filters, PVC pipe
          and fittings, PVC glue
          and primer, copper pipe
          and fittings, recovery
          tanks, sealtite/conduit,
          rolls of wire,
          tape/sealants/adhesives,
          screws, compressor oil
          pump, 2"pipe insulation
          and fittings, Rubbatex
          and partials, Unistrut,
          vent pipe and assorted
          pieces and fittings,
          exhaust fans,
          condenser, furnace,
          sheet rock compound,
          sheet rock tools, roof
          curb materials, defrost
          timer, trane oil filter, and
          galvanized black steel
          pipe                                                                     $0.00                                         $36,104.00




23.       Total of Part 5.                                                                                                   $36,104.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                         Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2



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Debtor       AIR HANDLERS HVAC SPECIALISTS LLC                                              Case number (If known)
             Name


      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          4 desks, 7chairs, 1 filing cabinet, 2 desk
          organizeers, 1 dry erase board, 5 dry erase
          markers, 4 picture frames, Card/brochure
          holders, bulletin board, trash cvans, clock,
          desk calendar, letter handing foldeer frame,
          open/close signage, 1 computer, 1 printer,
          printer paper, 89 folders, staplers, markers,
          whiteout, coffee maker, telephone, architect
          ruler, sticky notes, card reader, catelog
          envelopes, trade magazines,state exam study
          materials, code and contractor books, and
          promotional books (non-company)                                                 $0.00                                        $4,237.50



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $4,237.50
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3



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Debtor        AIR HANDLERS HVAC SPECIALISTS LLC                                            Case number (If known)
              Name

           47.1.    2000 Chevrolet 3500 Crew Cab
                    ($2,000.00)

                    2005 Chevrolet Express Cargo Van
                    ($5,000.00)                                                          $0.00                          $7,000.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Ladder ($807.00)
           Vacuum Pumps ($280.00)
           Water Hoses ($100.00)
           Recovery Machine ($650.00)
           Micron Guage ($75.00)
           Hand Tools ($3,000.00)
           Measuring & Testing Tools ($5,600.00)
           Tool Boxes ($6,000.00)
           Power Tools ($2,000.00)
           Refrigerant Hoses ($200.00)
           Torch Kits & Assorted Hoses & Fittings
           ($1,100.00)
           Solder ($150.00)
           Refractometer ($600.00)                                                       $0.00                        $20,562.00




51.        Total of Part 8.                                                                                         $27,562.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                        page 4



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Debtor      AIR HANDLERS HVAC SPECIALISTS LLC                            Case number (If known)
            Name


     No. Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                      Schedule A/B Assets - Real and Personal Property            page 5



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Debtor          AIR HANDLERS HVAC SPECIALISTS LLC                                                                   Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $109,000.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $36,104.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $4,237.50

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $27,562.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $176,903.50           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $176,903.50




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 6



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Fill in this information to identify the case:

Debtor name       AIR HANDLERS HVAC SPECIALISTS LLC

United States Bankruptcy Court for the:       WESTERN DISTRICT OF LOUISIANA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1




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Fill in this information to identify the case:

Debtor name        AIR HANDLERS HVAC SPECIALISTS LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF LOUISIANA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,827.00
          Airside Equipment                                                    Contingent
          P.O. Box 40014
                                                                               Unliquidated
          Baton Rouge, LA 70835-0014
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                   Basis for the claim:

                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Big Think                                                            Contingent
          225 Broadhollow RD
                                                                               Unliquidated
          Melville, NY 11747
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                   Basis for the claim:

                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,584.88
          Butcher Distributors                                                 Contingent
          3923 US 90
                                                                               Unliquidated
          Lake Charles, LA 70615
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                   Basis for the claim:

                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $8,043.16
          Chase                                                                Contingent
          P.O. Box 182051
                                                                               Unliquidated
          Columbus, OH 43218-2051
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                   Basis for the claim:

                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 6
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Debtor      AIR HANDLERS HVAC SPECIALISTS LLC                                               Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $29,230.55
         Doucet Metal                                                 Contingent
         900 2nd Avenue
                                                                      Unliquidated
         Lake Charles, LA 70601
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Dunhill Development                                          Contingent
         4801 Woodway Drive
                                                                      Unliquidated
         Ste 425W
         Houston, TX 77056                                            Disputed

         Date(s) debt was incurred                                 Basis for the claim:    Breach of Contract
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Garden City Construction                                     Contingent
         7219 Johnson Street
                                                                      Unliquidated
         Lafayette, LA 70503
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Breach of Contract
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,129.65
         Grainger                                                     Contingent
         2502 Cities Service Hwy
                                                                      Unliquidated
         Sulphur, LA 70663
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Headway Capital                                              Contingent
         175 Jackson Blvd #1000
                                                                      Unliquidated
         Chicago, IL 60604
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Internal Revenue Service                                     Contingent
         Office of General Counsel                                    Unliquidated
         P.O. Box 30509                                               Disputed
         New Orleans, LA 70190
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         IRS                                                          Contingent
         PO Box 7346                                                  Unliquidated
         Philadelphia, PA 19101-0734                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 6




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Debtor      AIR HANDLERS HVAC SPECIALISTS LLC                                               Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,200.00
         Jason Nazworth                                               Contingent
         2412 Maplewood Drive                                         Unliquidated
         Sulphur, LA 70663                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Louisiana Depratment of Revenue                              Contingent
         P. O. Box 201                                                Unliquidated
         Baton Rouge, LA 70821-0201                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $20,256.28
         Nance Sheet Metal                                            Contingent
         1520 South Street
                                                                      Unliquidated
         Beaumont, TX 77701
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,684.88
         Nunez A/C Supply                                             Contingent
         85 Center Circle
                                                                      Unliquidated
         Sulphur, LA 70663
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Sheriff of Calcasieu Parish                                  Contingent
         5400 E. Broad St.                                            Unliquidated
         Lake Charles, LA 70601                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $688.88
         Solar Supply                                                 Contingent
         317 E. LaGrange Street
                                                                      Unliquidated
         Lake Charles, LA 70605
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         State of Louisiana                                           Contingent
         P.O. Box 66658                                               Unliquidated
         Baton Rouge, LA 70896                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 6




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Debtor      AIR HANDLERS HVAC SPECIALISTS LLC                                               Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         State of Louisiana                                           Contingent
         Dept. of Revenue                                             Unliquidated
         P.O. Box 3445                                                Disputed
         Lafayette, LA 70502-3445
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Superfast Capital, Inc                                       Contingent
         320 West 13th Street
                                                                      Unliquidated
         New York, NY 10014
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,400.00
         Thomas Supply                                                Contingent
         625 15th Street
                                                                      Unliquidated
         Lake Charles, LA 70601
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,600.00
         Town Planner                                                 Contingent
         418 Little Guy Lane
                                                                      Unliquidated
         New Iberia, LA 70563
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $20,582.09
         Trane Commercial                                             Contingent
         P.O. Box 845053
                                                                      Unliquidated
         Dallas, TX 75284-5053
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,119.58
         United Rentals                                               Contingent
         3015 Business Drive
                                                                      Unliquidated
         Sulphur, LA 70665
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         VOX Funding                                                  Contingent
         100 Park Ave
                                                                      Unliquidated
         New York, NY 10017
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 4 of 6




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Debtor       AIR HANDLERS HVAC SPECIALISTS LLC                                                      Case number (if known)
             Name

3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Waste Management                                                     Contingent
          800 Capital Street
                                                                               Unliquidated
          Houston, TX 77002
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                  Basis for the claim:

                                                                           Is the claim subject to offset?         No    Yes

3.27      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Westlake Auto Sales                                                  Contingent
          1507 Sampson Street
                                                                               Unliquidated
          Westlake, LA 70669
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                  Basis for the claim:

                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Air-Side
          P.O. Box 628                                                                              Line     3.1
          Plaquemine, LA 70765
                                                                                                           Not listed. Explain

4.2       Big Think
          250 W. 34th St.                                                                           Line     3.2
          New York, NY 10019
                                                                                                           Not listed. Explain

4.3       Butcher Distributors
          101 Boyce Street                                                                          Line     3.3
          Broussard, LA 70518
                                                                                                           Not listed. Explain

4.4       Chase Bank
          915 Beglis Parkway                                                                        Line     3.4
          Sulphur, LA 70663
                                                                                                           Not listed. Explain

4.5       Dunhill Development
          3125 Gestner Blvd                                                                         Line     3.6
          Lake Charles, LA 70601
                                                                                                           Not listed. Explain

4.6       Headway Capital
          175 W. Jackson                                                                            Line     3.9
          Chicago, IL 60604
                                                                                                           Not listed. Explain

4.7       Nance Sheet Metal
          2915 Milam                                                                                Line     3.14
          Beaumont, TX 77701
                                                                                                           Not listed. Explain

4.8       Solar Supply
          P.O. Drawer 3030                                                                          Line     3.17
          Lake Charles, LA 70602
                                                                                                           Not listed. Explain

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 6




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Debtor      AIR HANDLERS HVAC SPECIALISTS LLC                                           Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.9       Trane
          2412 Maplewood Drive Suite 5                                                 Line     3.23
          Sulphur, LA 70663
                                                                                              Not listed. Explain

4.10      United Rental
          3301 Cities Service Hwy                                                      Line     3.24
          Westlake, LA 70669
                                                                                              Not listed. Explain

4.11      VOX Funding
          100 E. Penn Square                                                           Line     3.25
          Philadelphia, PA 19107
                                                                                              Not listed. Explain

4.12      Vox Funding
          14 E 44th St, 4th Floor                                                      Line     3.25
          New York, NY 10017
                                                                                              Not listed. Explain

4.13      VOX Funding
          1395 Brickell Ave, Suite 800                                                 Line     3.25
          Miami, FL 33131
                                                                                              Not listed. Explain

4.14      Vox Funding, LLC
          Derek Medolla                                                                Line     3.25
          1407 Broadway 29th Floor
                                                                                              Not listed. Explain
          New York, NY 10018

4.15      Waste Management
          P.O. Box                                                                     Line     3.26
          Phoenix, AZ 85080
                                                                                              Not listed. Explain

4.16      WM Corporate Services, Inc
          P.O. Box 55558                                                               Line     3.26
          Boston, MA 02205-5558
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                          0.00
5b. Total claims from Part 2                                                              5b.    +     $                    102,346.95

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                      102,346.95




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 6 of 6




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Fill in this information to identify the case:

Debtor name       AIR HANDLERS HVAC SPECIALISTS LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF LOUISIANA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Construction Contract
           lease is for and the nature of
           the debtor's interest

               State the term remaining          Terminated-Default
                                                                                    Dunhill Development
           List the contract number of any                                          4801 Woodway Drive
                 government contract                                                Houston, TX 77056


2.2.       State what the contract or            Construction Contract
           lease is for and the nature of
           the debtor's interest

               State the term remaining          Terminated-Default
                                                                                    Garden City Construction
           List the contract number of any                                          7219 Johnson Street
                 government contract                                                Lafayette, LA 70503




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1




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Fill in this information to identify the case:

Debtor name      AIR HANDLERS HVAC SPECIALISTS LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF LOUISIANA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Jonathan                    141 W. Salisbury Rd                                       Headway Capital                    D
          Santos-Sigler               Salisbury, NH 03268                                                                          E/F       3.9
                                                                                                                                   G




   2.2    Jonathan                    141 W. Salisbury Rd                                       Superfast Capital, Inc             D
          Santos-Sigler               Salisbury, NH 03268                                                                          E/F       3.20
                                                                                                                                   G




   2.3    Jonathan                    141 W. Salisbury RD                                       VOX Funding                        D
          Santos-Sigler               Salisbury, NH 03268                                                                          E/F       3.25
                                                                                                                                   G




   2.4    Kaleb Santos                1103 Texas Street                                         Superfast Capital, Inc             D
                                      Sulphur, LA 70663                                                                            E/F       3.20
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1



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Fill in this information to identify the case:

Debtor name         AIR HANDLERS HVAC SPECIALISTS LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF LOUISIANA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $43,745.45
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $161,237.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $199,551.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1




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Debtor       AIR HANDLERS HVAC SPECIALISTS LLC                                                  Case number (if known)



      Creditor's Name and Address                                  Dates                  Total amount of value          Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             Air Side Equipment                                    2/20/23                          $14,004.00                Secured debt
             P.O. Box 40014                                                                                                   Unsecured loan repayments
             Baton Rouge, LA 70835                                                                                            Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                  Total amount of value          Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property

      Westlake Auto Sales                              Service Van                                                     3/1/2023                      $5,500.00
      1507 Sampson Street
      Westlake, LA 70669


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken
      Chase                                            Reflects negative balance of $3,634.75,                                                             $0.00
      P.O. Box 182051                                  which is incorrect
      Columbus, OH 43218-2051                          Last 4 digits of account number:


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address
      7.1.   Vox Funding, LLC                                                      Supreme Court of the State                      Pending
             vs.                                                                   of New York                                     On appeal
             Air Handlers HVAC                                                     Kings County
                                                                                                                                   Concluded
             Specialists LLC and Jonathan
             Glenn Stantos-Sigler



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2




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                                                                                                                                                   5/30/23 3:04PM

Debtor        AIR HANDLERS HVAC SPECIALISTS LLC                                                   Case number (if known)



8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                  Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Ronald J. Bertrand
               714 Kirby Street
               Lake Charles, LA 70601                    $2,500.00 fees and $338.00 costs                                                         $2,838.00

               Email or website address


               Who made the payment, if not debtor?
               Debtor



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3




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                                                                                                                                                 5/30/23 3:04PM

Debtor        AIR HANDLERS HVAC SPECIALISTS LLC                                                  Case number (if known)



    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer            Total amount or
              Address                                  payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     612 W. Brimstone                                                                                    February 2020 to July 2020
                Sulphur, LA 70663

      14.2.     2412 Maplewood Drive                                                                                July 2020 to March 2023
                Sulphur, LA 70663

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred


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                                                                                                                                                       5/30/23 3:04PM

Debtor        AIR HANDLERS HVAC SPECIALISTS LLC                                                  Case number (if known)



               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.    Chase Bank                               XXXX-2170                     Checking                                                              $0.00
               915 Beglis Parkway                                                     Savings
               Sulphur, LA 70663
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      City Storage                                           Kaleb Santos                          Inventory, materials, office                   No
      3737 Old Hwy 27 South                                  2515 German Road                      furnishing and equipment,                      Yes
      Lake Charles, LA 70605                                 Westake, LA 70668                     and all business assets other
                                                                                                   than vehicle and ladders held
                                                             Jonathan Santos-Sigler                at another location.
                                                             141 W. Salisbury
                                                             Salisbury, NH 03268

      Tammy and Albert Breaux                                Tammy Breaux                          Van, turck and ladders                         No
      424 Darbonne Street                                    Albert Breaux                                                                        Yes
      Sulphur, LA 70663



Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 5




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Debtor      AIR HANDLERS HVAC SPECIALISTS LLC                                                   Case number (if known)



Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Anna Bruner                                                                                                        2019 to present
                    AG Bruner, Inc
                    2904 Maplewood Drive
                    Sulphur, LA 70663

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why




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Debtor      AIR HANDLERS HVAC SPECIALISTS LLC                                                   Case number (if known)



      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Anna Bruner
                    AG Bruner, Inc
                    2904 Maplewood Drive, Suite A
                    LA 70603

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1 Kaleb Santos
      .                                                                             March 2023               See schedules filed herein

               Name and address of the person who has possession of
               inventory records
               Kaleb Santos
               1103 Texas Street
               Sulphur, LA 70663


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Jonathan Santos-Sigler                  141 W. Salsibury Road                               Member                                    50%
                                              Salisbury, NH 03268

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Kaleb Santos                            1103 Texas Street                                   Member                                    50%
                                              Sulphur, LA 70663



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

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Debtor      AIR HANDLERS HVAC SPECIALISTS LLC                                                   Case number (if known)



             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 Jonathan Santos-Sigler                      2021 Compensation $12,394.00
      .    141 W. Salisbury Road                       2022 Compensation $12,612.00
             Salisbury, NH 03268                       2023 Compensation $6,659.00                                                 Compensation

             Relationship to debtor
             Member


      30.2 Kaleb Santos                                2021 Compensation $12,394.00
      .    2515 German Road                            2022 Compensation $12,612.00
             Westlake, LA 70669                        2023 Compensation $6,559.00                                                 Compensation

             Relationship to debtor
             Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         May 30, 2023

/s/ Kaleb Santos                                                Kaleb Santos
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Manager/Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                            Western District of Louisiana
 In re       AIR HANDLERS HVAC SPECIALISTS LLC                                                                Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,500.00
             Prior to the filing of this statement I have received                                        $                     1,512.00
             Balance Due                                                                                  $                      988.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):      Tammy Breaux Mother of principals of LLC

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     May 30, 2023                                                             /s/ Ronald J. Bertrand
     Date                                                                     Ronald J. Bertrand
                                                                              Signature of Attorney
                                                                              Ronald J. Bertrand
                                                                              714 Kirby Street
                                                                              Lake Charles, LA 70601
                                                                              337-436-2541 Fax: 337-436-7591
                                                                              rjblawoffice@aol.com
                                                                              Name of law firm




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                       Air-Side
                       P.O. Box 628
                       Plaquemine, LA 70765



                       Airside Equipment
                       P.O. Box 40014
                       Baton Rouge, LA 70835-0014



                       Big Think
                       225 Broadhollow RD
                       Melville, NY 11747



                       Big Think
                       250 W. 34th St.
                       New York, NY 10019



                       Butcher Distributors
                       3923 US 90
                       Lake Charles, LA 70615



                       Butcher Distributors
                       101 Boyce Street
                       Broussard, LA 70518



                       Chase
                       P.O. Box 182051
                       Columbus, OH 43218-2051



                       Chase Bank
                       915 Beglis Parkway
                       Sulphur, LA 70663



                       Doucet Metal
                       900 2nd Avenue
                       Lake Charles, LA 70601




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                   Dunhill Development
                   4801 Woodway Drive
                   Ste 425W
                   Houston, TX 77056



                   Dunhill Development
                   3125 Gestner Blvd
                   Lake Charles, LA 70601



                   Dunhill Development
                   4801 Woodway Drive
                   Houston, TX 77056



                   Garden City Construction
                   7219 Johnson Street
                   Lafayette, LA 70503



                   Grainger
                   2502 Cities Service Hwy
                   Sulphur, LA 70663



                   Headway Capital
                   175 Jackson Blvd #1000
                   Chicago, IL 60604



                   Headway Capital
                   175 W. Jackson
                   Chicago, IL 60604



                   Internal Revenue Service
                   Office of General Counsel
                   P.O. Box 30509
                   New Orleans, LA 70190



                   IRS
                   PO Box 7346
                   Philadelphia, PA 19101-0734




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                   Jason Nazworth
                   2412 Maplewood Drive
                   Sulphur, LA 70663



                   Jonathan Santos-Sigler
                   141 W. Salisbury Rd
                   Salisbury, NH 03268



                   Kaleb Santos
                   1103 Texas Street
                   Sulphur, LA 70663



                   Louisiana Depratment of Revenue
                   P. O. Box 201
                   Baton Rouge, LA 70821-0201



                   Nance Sheet Metal
                   1520 South Street
                   Beaumont, TX 77701



                   Nance Sheet Metal
                   2915 Milam
                   Beaumont, TX 77701



                   Nunez A/C Supply
                   85 Center Circle
                   Sulphur, LA 70663



                   Sheriff of Calcasieu Parish
                   5400 E. Broad St.
                   Lake Charles, LA 70601



                   Solar Supply
                   317 E. LaGrange Street
                   Lake Charles, LA 70605




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                   Solar Supply
                   P.O. Drawer 3030
                   Lake Charles, LA 70602



                   State of Louisiana
                   P.O. Box 66658
                   Baton Rouge, LA 70896



                   State of Louisiana
                   Dept. of Revenue
                   P.O. Box 3445
                   Lafayette, LA 70502-3445



                   Superfast Capital, Inc
                   320 West 13th Street
                   New York, NY 10014



                   Thomas Supply
                   625 15th Street
                   Lake Charles, LA 70601



                   Town Planner
                   418 Little Guy Lane
                   New Iberia, LA 70563



                   Trane
                   2412 Maplewood Drive Suite 5
                   Sulphur, LA 70663



                   Trane Commercial
                   P.O. Box 845053
                   Dallas, TX 75284-5053



                   United Rental
                   3301 Cities Service Hwy
                   Westlake, LA 70669




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                   United Rentals
                   3015 Business Drive
                   Sulphur, LA 70665



                   VOX Funding
                   100 Park Ave
                   New York, NY 10017



                   VOX Funding
                   100 E. Penn Square
                   Philadelphia, PA 19107



                   VOX Funding
                   1395 Brickell Ave, Suite 800
                   Miami, FL 33131



                   Vox Funding
                   14 E 44th St, 4th Floor
                   New York, NY 10017



                   Vox Funding, LLC
                   Derek Medolla
                   1407 Broadway 29th Floor
                   New York, NY 10018



                   Waste Management
                   800 Capital Street
                   Houston, TX 77002



                   Waste Management
                   P.O. Box
                   Phoenix, AZ 85080



                   Westlake Auto Sales
                   1507 Sampson Street
                   Westlake, LA 70669




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                   WM Corporate Services, Inc
                   P.O. Box 55558
                   Boston, MA 02205-5558




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                                              United States Bankruptcy Court
                                                   Western District of Louisiana
 In re   AIR HANDLERS HVAC SPECIALISTS LLC                                                     Case No.
                                                                   Debtor(s)                   Chapter      7




                                  VERIFICATION OF CREDITOR MATRIX


I, the Manager/Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    May 30, 2023                                  /s/ Kaleb Santos
                                                       Kaleb Santos/Manager/Member
                                                       Signer/Title




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                                                                United States Bankruptcy Court
                                                                       Western District of Louisiana
 In re      AIR HANDLERS HVAC SPECIALISTS LLC                                                                                    Case No.
                                                                                            Debtor(s)                            Chapter         7



                                   DECLARATION RE: ELECTRONIC FILING OF PETITION, SCHEDULES,
                                   & STATEMENTS and STATEMENT OF SOCIAL SECURITY NUMBER(S)
PART I - DECLARATION OF PETITIONER(S)
             I [We]     Kaleb Santos and                                , the undersigned debtor(s), hereby declare under penalty of perjury that the information I have
given my attorney and the information provided in the electronically filed petition, statements, and schedules is true and correct. I consent to my attorney sending my
petition, this declaration, statements and schedules to the United States Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be
filed with the Clerk no later than forty-eight (48) hours following the date the petition was electronically filed, and all schedules and statements are to be filed no later
than fourteen (14) days following the date the petition was electronically filed. I understand that the original of this DECLARATION RE: ELECTRONIC FILING OF
PETITION, SCHEDULES & STATEMENTS will be maintained by the Clerk of Court. I further understand that failure to file the signed original of the
DECLARATION will cause my case to be dismissed pursuant to F.R.B.P. without further notice.
                 [If petitioner is an individual whose debts are primarily consumer debts and has chosen to file under chapter 7] I am aware that I may proceed under
chapter 7, 11, 12 or 13 of 11 United States Code, understand the relief available under each such chapter, and choose to proceed under chapter 7. I request relief in
accordance with the chapter specified in this petition.

                [If petitioner is a corporation or partnership] I declare under penalty of perjury that the information provided in this petition is true and correct, and that
I have been authorized to file this petition on behalf of the debtor. The debtor requests relief in accordance with the chapter specified in this petition.
 Dated:      May 30, 2023                        Signed:        /s/ Kaleb Santos
                                                                Kaleb Santos/Manager/Member
                                                                Applicant

PART II - DECLARATION OF ATTORNEY
            I declare under penalty of perjury that I have reviewed the above debtor's petition and that the information is complete and correct to the best of my
knowledge. The debtor(s) will have signed this form before I submit the petition, schedules, and statements. I will give the debtor(s) a copy of all forms and information
to be filed with the United States Bankruptcy Court. I further declare that I have examined the above debtor's petition, schedules, and statements and, to the best of my
knowledge and belief, they are true, correct, and complete. If an individual, I declare that I have informed the petitioner that [he, she or they] may proceed under chapter
7, 11, 12 or 13 of Title 11, United States Code, and have explained the relief available under each such chapter. This declaration is based on all information of which I
have knowledge.
 Dated:         May 30, 2023
                                                             Signed:
                                                                        Ronald J. Bertrand
                                                                        Attorney for Debtor(s)
PART III - STATEMENT OF SOCIAL SECURITY NUMBER(S) - RULE 1007(f)
                         1. Name of Debtor (Last, First, Middle): , ,
                         (Check the appropriate box and, if applicable, provide the required information.)

                            Debtor has a Social Security Number and it is: XX-XXXXXXX
                                              (If more than one, state all.)
                            Debtor does not have a Social Security Number but has an Individual Taxpayer-Identification Number (ITIN), and it is
                                              (If more than one, state all.)
                            Debtor does not have either a Social-Security Number or an Individual Taxpayer-Identification Number (ITIN).

                         2. Name of Joint Debtor (Last, First, Middle):

                            Joint Debtor has a Social Security Number and it is:
                                               (If more than one, state all.)
                            Joint Debtor does not have a Social Security Number but has an Individual Taxpayer-Identification Number (ITIN), and it is
                                               (If more than one, state all.)
                            Debtor does not have either a Social-Security Number or an Individual Taxpayer-Identification Number (ITIN).
                         I declare under penalty of perjury that the foregoing is true and correct.

 Dated:      May 30, 2023                             Signed:
                                                                       Kaleb Santos
                                                                       Debtor                                                     Joint Debtor




*Joint debtors must provide information for both spouses.
Penalty for making a false statement: Fine of up to $250,000 or up to 5 years imprisonment or both. 18 U.S.C. §§ 152 and 3571.                          (01/06/11)




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